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8                         UNITED STATES DISTRICT COURT
9                       EASTERN DISTRICT OF CALIFORNIA
10
11   TIMOTHY C. NELSON,               NO. 2:05-cv-01193-MCE-KJM
12             Plaintiff,
13        v.                          MEMORANDUM AND ORDER
14   CITY OF DAVIS; JAMES HYDE,
     individually and in his
15   official capacity as Chief
     of Police for the CITY OF
16   DAVIS; CALVIN HANDY,
     SERGEANT MICHAEL MASON,
17   OFFICER JAVIER BARRAGAN,
     OFFICER BRANDON JONES,
18   OFFICER CALVIN CHANG,
     OFFICER M. GARCIA,
19   individually and
     DOES 1-100, inclusive,
20
               Defendants.
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22
23
24        Plaintiff Timothy C. Nelson (“Plaintiff”) seeks damages as
25   result of injuries he sustained during law enforcement activities
26   necessitated by a disturbance at an apartment complex in Davis,
27   California.   Defendants include the City of Davis, Davis Chief of
28   Police James Hyde, and Davis Police Sergeant John Wilson.

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1           In addition, because University of California, Davis (“U.C.
2    Davis”) police personnel assisted the City of Davis Police
3    Department in quelling the disturbance, Plaintiff has sued U.C.
4    Davis Officers Calvin Handy, Javier Barragan, and Mary Garcia.
5    Plaintiff alleges that Defendants violated his constitutional
6    rights by subjecting him to unreasonable seizure in violation of
7    both the United States and California Constitutions.            Plaintiff
8    further asserts constitutional equal protection claims, as well
9    as    additional common law and statutory claims sounding under
10   California law.
11          Presently before the Court are three motions for summary
12   judgment, or alternatively partial summary judgment of certain
13   issues.     The motions are brought on behalf of 1) the City of
14   Davis Defendants (Davis, Hyde and Wilson); 2) the U.C. Davis
15   Defendants with the exception of Calvin Chang (Handy, Barragan
16   and Garcia) and 3) Defendant Calvin Chang, individually.            For the
17   reasons set forth below, Defendants’ Motions will be GRANTED.
18
19                                    BACKGROUND
20
21          On the evening of April 16, 2004, following the annual
22   Picnic Day festivities held at U.C. Davis, as many as a thousand
23   young people gathered at the Sterling Apartment complex on
24   Cantrill Drive in Davis.        One resident of the complex described
25   the gathering as “the biggest party in history”.           The Plaintiff,
26   a 20-year old college student, was in attendance.
27   ///
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1         The City of Davis police became aware of the party after
2    noticing virtually gridlocked traffic along Cantrill Drive, and
3    upon observation of illegally parked cars on both sides of the
4    street for virtually its entire length.       The police station
5    itself was located near the apartments at the corner of Cantrill
6    and Fifth Streets, and the sergeant on duty, Defendant Wilson,
7    dispatched police officers to begin issuing parking citations to
8    clear the improperly parked vehicles.      The police also checked
9    the party itself, which Sergeant Wilson described as both
10   unusually large and loud.     Underage alcohol violations were
11   observed, and Wilson claims he observed individuals trying to
12   vandalize vehicles by rocking them back and forth.        One resident
13   described a chair being thrown from an upper story window.          After
14   apprising an agent for the complex owner of the situation,
15   Sergeant Wilson was asked shortly before midnight to request that
16   all non-residents leave the premises under penalty of trespass.
17        The crowd did not respond to the police’s initial request to
18   disperse.   Sergeant Wilson ordered two of the officers, who had
19   been on foot, to go back to the nearby station and return with
20   their patrol vehicles for an additional police presence.         As one
21   of the vehicles drove through the complex (a group of several
22   story buildings situated on a rectangular lot), Wilson observed
23   partygoers surround the vehicle and begin throwing bottles.
24   Although the patrol vehicle activated its emergency lights and
25   siren, Wilson states that it was unable to exit the complex
26   absent rescue intervention from both himself and other officers.
27   Wilson then called for backup as both he and the officers
28   retreated back to the driveway at entrance to the complex.

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1           About forty officers arrived at the Davis Police station in
2    response to Defendant Wilson’s request, including Lieutenant
3    Darren Patel, who upon arrival assumed the role of incident
4    commander.     U.C. Davis police officers, including Defendants
5    Chang, Barragan and Garcia, were among those who responded.
6    Unlike their City counterparts, the U.C. Davis officers had
7    pepperball launchers in their arsenal for crowd dispersal.
8    Pepperball launchers are dual purpose weapons that shoot round
9    plastic balls filled with Oleoresin Capsicum (“OC”) powder, a
10   substance similar to pepperspray.         The launchers combine the
11   shock of kinetic impact (similar to paintballs) with the sensory
12   discomfort associated with pepperspray.          They are designed to
13   break apart and disperse the OC powder upon impact.
14          Pepperball use is considered appropriate as long as the
15   projectiles are not aimed directly at sensitive body parts (such
16   as the face and groin) at distances of more than thirty feet.               In
17   addition, pepperballs may properly be launched at hard building
18   surfaces like walls, ceilings, doors and windows within a hundred
19   foot radius for effective dispersal, or “area saturation”, of the
20   OC to the surrounding vicinity.         Within these parameters,
21   pepperball use in crowd control and riot situations meets Peace
22   Officer Standards Training (“POST”) guidelines, and further was
23   authorized by U.C. Davis Police Department policy.
24          Following the officers’ initial retreat, the evidence shows
25   that the Sterling party careened further out of control.
26   Sergeant Wilson could hear individuals shouting “fuck the police”
27   as the officers regrouped at the station.
28   ///

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1         At about 1:00 a.m., after meeting together to form a
2    dispersal plan, between 30 and 40 officers proceeded on foot to
3    the southwest corner of the apartment complex in full riot gear
4    (helmets, shields and batons).     Four U.C. Davis officers,
5    including Officers Chang, Garcia and Barragan, carried pepperball
6    launchers.    Crowd dispersal orders were given.
7         After observing the police, Plaintiff testified that he
8    retreated inside one of the complex buildings to a friend’s
9    apartment.    Both officers and partygoers attest to the fact that
10   bottles and other objects were being thrown at the police from
11   various vantage points at this juncture, including upper story
12   balconies.    At least one officer was injured by a thrown bottle,
13   and several others reported only narrowly being missed on
14   numerous occasions.    When Plaintiff came downstairs and attempted
15   to exit the building, he admits that he heard crowd dispersal
16   orders issued by the police to “leave and go inside”.1         He
17   thereafter retreated inside the hallway where he remained about
18   fifteen minutes.
19        There is no dispute that the officer’s initial sweep through
20   the complex in riot gear failed to adequately disperse the
21   partygoers.    Bottles and other debris continued to be thrown at
22   the police from multiple directions.      The second sweep was
23   thereafter ordered and began from the southwest corner of the
24   complex in front of a breezeway.
25
          1
            The fact that Plaintiff admittedly heard and understood
26   the dispersal orders being given, and went inside the complex as
     a result, renders moot any claim that the orders were
27   insufficient to place him on notice of the police directive.
     Consequently, Plaintiff’s claims that amplification was not
28   utilized and that exit routes were inadequate is immaterial.

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1    During that second sweep, officers observed a group of between
2    fifteen and twenty individuals congregated at the back of an
3    apartment breezeway. Bottles were being thrown from the rear of
4    that group.      According to Officer Wilson, after twice ordering
5    those present in the breezeway to disperse without success, he
6    ordered the U.C. Davis officers (Chang, Barragan and Garcia) to
7    launch pepperballs.       The officers aimed both at hard surfaces
8    adjacent to the breezeway (the doors, ceiling and walls) and at
9    individuals who they observed throwing bottles (from below the
10   shoulders).
11          Despite Plaintiff’s admission that he both heard and
12   understood the dispersal orders and observed the police in riot
13   gear, he nonetheless elected, contrary to the explicit directive
14   he had been given to remain inside the apartment, to exit a set
15   of double doors leading into the breezeway.          As he exited, he
16   testified being immediately aware of the presence of stinging
17   pepperspray.      He heard the sound of “mace bullets” hitting the
18   windows, doors and at points overhead.          (Pl.’s Dep., 104:22-
19   105:15, 107:4-108:9).       He was thereafter almost simultaneously
20   struck in the eye by a pepperspray bullet and allegedly sustained
21   permanent injuries to his left eye.          As Plaintiff’s police
22   procedures expert admitted, Plaintiff walked into the line of
23   fire once he exited the hallway.          Plaintiff does not know who
24   launched the pepperball that struck him.          He denies ever throwing
25   anything at the police.
26   ///
27   ///
28   ///

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1           The aftermath of the disturbance confirmed that vehicles and
2    apartments were vandalized during its course, and that at least
3    one swarm robbery occurred.        One resident described the Sterling
4    complex as having been “trashed”.
5
6                                      STANDARD
7
8                 The Federal Rules of Civil Procedure provide for
9    summary judgment when “the pleadings, depositions, answers to
10   interrogatories, and admissions on file, together with
11   affidavits, if any, show that there is no genuine issue as to any
12   material fact and that the moving party is entitled to a judgment
13   as a matter of law.”       Fed. R. Civ. P. 56(c).      One of the
14   principal purposes of Rule 56 is to dispose of factually
15   unsupported claims or defenses.         Celotex Corp. v. Catrett, 477
16   U.S. 317, 325 (1986).
17          Rule 56 also allows a court to grant summary adjudication on
18   part of a claim or defense.        See Fed. R. Civ. P. 56(a) (“A party
19   seeking to recover upon a claim ... may ... move ... for a
20   summary judgment in the party’s favor upon all or any part
21   thereof.”); see also Allstate Ins. Co. v. Madan, 889 F. Supp.
22   374, 378-79 (C.D. Cal. 1995); France Stone Co., Inc. v. Charter
23   Township of Monroe, 790 F. Supp. 707, 710 (E.D. Mich. 1992).
24          The standard that applies to a motion for summary
25   adjudication is the same as that which applies to a motion for
26   summary judgment.      See Fed. R. Civ. P. 56(a), 56(c); Mora v.
27   ChemTronics, 16 F. Supp. 2d 1192, 1200 (S.D. Cal. 1998).
28   ///

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1         In considering a motion for summary judgment, the court must
2    examine all the evidence in the light most favorable to the non-
3    moving party.   U.S. v. Diebold, Inc., 369 U.S. 654, 655 (1962).
4    Once the moving party meets the requirements of Rule 56
5    by showing that there is an absence of evidence to support the
6    non-moving party’s case, the burden shifts to the party resisting
7    the motion, who “must set forth specific facts showing that there
8    is a genuine issue for trial.”     Anderson v. Liberty Lobby, Inc.,
9    477 U.S. 242, 256 (1986).     Genuine factual issues must exist that
10   “can be resolved only by a finder of fact, because they may
11   reasonably be resolved in favor of either party.”        Id. at 250.
12   In judging evidence at the summary judgment stage, the court does
13   not make credibility determinations or weigh conflicting
14   evidence.   See T.W. Elec. v. Pacific Elec. Contractors Ass’n, 809
15   F.2d 626, 630-631 (9th Cir. 1987), citing Matsushita Elec. Indus.
16   Co., Ltd. v. Zenith Radio Corp., 475 U.S. 574, 587 (1986).
17
18                                  ANALYSIS
19
20        A.   Unreasonable Seizure under the Fourth Amendment
21
22        Plaintiff’s First and Fourth Claims for Relief assert his
23   right to be free from unreasonable seizures under the Fourth
24   Amendment of the United States Constitution and Article I,
25   Section 13 of the California Constitution, respectively.2
26
27        2
            Because the instant federal constitutional protections
     parallel those afforded by state constitution in this regard,
28                                                      (continued...)

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1    The Court must necessarily initially determine whether any
2    “seizure” has occurred giving rise to constitutional protection.
3           “A seizure triggering the Fourth Amendment’s protections
4    occurs only when government actors have, by means of physical
5    force or show of authority, in some way restrained the liberty of
6    a citizen.”      Graham v. Conner, 490 U.S. 386, 395 n.10 (1989).
7    The Supreme Court has further recognized that any constitutional
8    violation in this regard “requires an intentional acquisition of
9    physical control.”       Brower v. County of Inyo, 489 U.S. 593, 596
10   (1989).     As the Brower court explained:
11          “[A] Fourth Amendment seizure does not occur whenever
            there is a governmentally caused termination of an
12          individual’s freedom of movement (the innocent
            passerby), or even whenever there is a governmentally
13          caused and governmentally desired termination of an
            individual’s freedom of movement (the fleeing felon),
14          but only when there is a governmental termination of
            freedom of movement through means intentionally
15          applied.”
16   Id.
17          To constitute a seizure, “the taking or detention itself
18   must be willful.      This is implicit in the word ‘seizure,’ which
19   can hardly be applied to an unknowing act.”          Id.   (internal
20   quotations omitted).
21          Although the Ninth Circuit has not squarely addressed the
22   issue of whether the rationale of Brower should be extended to
23   instances where a bystander is inadvertently shot by police, the
24   weight of authority elsewhere supports that proposition.
25
26
            2
           (...continued)
27   the discussion that follows relies upon Fourth Amendment
     jurisprudence. See Sanchez v. County of San Diego, 464 F.3d 916,
28   928 (9th Cir. 2006).

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1    In Landol-Rivera v. Cruz Cosme, 906 F.2d 791, 795 (1st Cir.
2    1990), the First Circuit found that no Fourth Amendment seizure
3    occurred because the plaintiff in that case was inadvertently
4    shot during the police pursuit of a robbery suspect and hence was
5    not intentionally seized by the police bullet that struck him.
6    Similarly, in Rucker v. Harford County, 946 F.2d 278, 280 (4th
7    Cir. 1991), the Fourth Circuit ruled that a seizure within the
8    Fourth Amendment could not be demonstrated where the victim, an
9    innocent bystander, was not the “intended object” of law
10   enforcement activity but instead was shot and killed by police
11   officers attempting to apprehend a fleeing criminal.        Caselaw
12   from other circuits is also in accord.      See, e.g., Childress v.
13   City of Arapaho, 210 F.3d 1154, 1157 (10th Cir. 2000); Medeiros
14   v. O’Connell, 150 F.3d 164, 169 (2d Cir. 1998); Claybrook v.
15   Birchwell, 199 F.3d 350, 359 (6th Cir. 2000).
16        Plaintiff argues that this “bystander” line of cases is
17   inapplicable on grounds that the testimony of some witnesses
18   suggests that Plaintiff may have been in the breezeway at the
19   time the police began launching the pepperball projectiles, and
20   consequently was within the intended scope of the officers’ fire.3
21
22
23        3
           The caselaw Plaintiff cites is otherwise distinguishable
     from the circumstances of the case at bar. While Jensen v. City
24   of Oxnard, 145 F.3d 1078 (9th Cir. 1998) did find that a Fourth
     Amendment seizure occurred, that case involved the “friendly
25   fire” killing of a police officer where the evidence showed that
     the decedent was targeted deliberately despite a mistake as to
26   his identity. Additionally, while the victim shot by police in
     Fisher v. City of Memphis, 234 F.3d 312 (6th Cir. 2000) was only
27   the passenger in a car that attempted to strike two people
     standing, there was no question that the police officer intended
28   to shoot at the vehicle in which the victim was riding.

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1          Any inference in that regard that may be drawn from the
2    equivocal testimony of others, however, is nullified by
3    Plaintiff’s own clear version of what transpired during the
4    period immediately surrounding his injury.       Plaintiff testified
5    at deposition that he went inside an apartment building after
6    hearing a dispersal order to that effect from the officers.
7    He went inside a set of double doors, but after remaining inside
8    for between ten and fifteen minutes decided to go back outside
9    despite his admission that he had been told otherwise.        He states
10   1) that he heard the impact of shots being fired against the
11   doors, and over his head, as he exited; and 2) that he felt the
12   sting of pepperspray before something impacted his eye as he went
13   out the double doors.    Pl.’s Dep., 104:18-23, 107:4-109:13.
14   Plaintiff also testified that he was shot virtually
15   instantaneously with his exit back into the outside breezeway.
16         As a whole, Plaintiff’s testimony establishes that the
17   police officers began shooting before Plaintiff had exited back
18   outside through the doors into the breezeway, since Plaintiff
19   could not have heard the impact of pepperspray bullets and felt
20   the sensation of a chemical irritant unless the volley had
21   already been launched before he went outside.       Plaintiff cannot
22   avoid summary judgment by citing testimony allegedly inconsistent
23   with his own testimony, as he attempts to do in arguing that
24   other witnesses offer confusing accounts of his whereabouts at
25   the time he was struck.
26   ///
27   ///
28   ///

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1          Prosser v. Ross, 70 F.3d 1005, 1008 (8th Cir. 1995); see
2    also Kennedy v. Allied Mutual Ins. Co., 952 F.2d 262, 266 (9th
3    cir. 1991) (Plaintiff cannot create an issue of fact by an
4    affidavit contradicting his own prior deposition testimony).
5    Moreover, as indicated above, even Plaintiff’s own police
6    practices expert concedes that Plaintiff walked into the line of
7    fire from a position in the hallway. Dep. of Roger Clark, 102:4-7.
8          Plaintiff’s own version of events mandate the applicability
9    of the bystander cases.    Given his own admissions, he cannot
10   argue that he was an intended object of the police barrage
11   against the group in the hallway whose members were throwing
12   bottles at the police.    Hence no seizure within the meaning of
13   the Fourth Amendment occurred, and summary adjudication as to the
14   First and Fourth Claims for Relief will be granted.4
15
16         B.   Due Process Claims
17
18         In addition to claims under the Fourth Amendment as
19   discussed above, Plaintiff argues, in his Second and Fifth Claims
20   for Relief, that his substantive due process rights were also
21   violated by Defendants’ use of force, citing the Fourth Amendment
22   of the United States Constitution and Article I, § 7(a) of the
23   California Constitution.
24   ///
25   ///
26
27         4
            Because no seizure occurred in the first place, it is not
     necessary to consider here whether a seizure, had it occurred,
28   would have been deemed unreasonable under the Fourth Amendment.

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1          The concept of substantive due process protects against
2    arbitrary governmental action lacking “any reasonable
3    justification in the service of a legitimate governmental
4    objective.”   County of Sacramento v. Lewis, 523 U.S. 833, 846
5    (1998).    As the Supreme Court explains, “only the most egregious
6    official conduct can be said to be arbitrary in the
7    constitutional sense” on due process grounds.       Id.
8    Even negligently inflicted conduct fails to satisfy this high
9    threshold; rather, only conduct “so egregious, so outrageous that
10   it may fairly be said to shock the contemporary conscience” may
11   suffice.   Id. at 847.
12         As a preliminary matter, the fact that Plaintiff was not an
13   intended target of the pepperspray bullets launched into the
14   crowd in the breezeway (because he exited the double doors
15   leading onto the breezeway after the shooting started), would
16   appear dispositive of Plaintiff’s due process claims just as it
17   prevents him from stating a cognizable claim under the Fourth
18   Amendment as discussed above.     In Moreland v. Las Vegas
19   Metropolitan Police Dept., 159 F.3d 365 (9th Cir. 1998), the
20   police, upon responding to a reported parking lot fight,
21   encountered a male firing a semiautomatic weapon at individuals
22   who were returning his fire.     When the male failed to heed their
23   order to stop firing, the police opened fire and, in the process,
24   accidentally killed a bystander, Douglas, who was one of between
25   fifty and a hundred individuals trapped in the parking lot.
26   ///
27   ///
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1         In analyzing the due process rights inuring to Douglas’
2    family members, the Ninth Circuit identified the “controlling
3    question” as “whether [the officer] acted with a purpose to harm
4    Douglas that was unrelated to his attempt to stop the male in the
5    parking lot from endangering others.”      Id. at 373.
6         The circumstances here show that Defendants could not have
7    acted with a purpose to harm Plaintiff since he was not even
8    among the crowd of individuals in the breezeway when they opened
9    fire; instead, by the admission of both Plaintiff and his police
10   practices expert, Plaintiff simply walked into Defendants’ line
11   of fire.   Even apart from the fact that Plaintiff was not an
12   intended target, however, Defendants’ conduct cannot be deemed
13   egregious and/or outrageous in any event, as it must in order to
14   trigger due process liability.     Where, as here, police officers
15   are called in to restore order in a rapidly evolving, tense
16   environment fraught with potential danger, any due process
17   violation turns on “whether force was applied in a good faith
18   effort to maintain or restore discipline or maliciously and
19   sadistically for the very purpose of causing harm.”        County of
20   Sacramento v. Lewis, supra, 523 U.S. at 853.        Even “precipitate
21   recklessness” does not suffice to “spark the shock” required to
22   state a viable due process excessive force claim.        Id.
23        Plaintiff argues that the officers’ conduct in attempting to
24   disperse the crowd was deliberately indifferent.        He alleges that
25   “firing indiscriminately into a crowd was outrageous”, and that
26   the police had time to consider other means available at their
27   disposal before resorting to the use of pepperball bullets.
28   Pl.’s Opp., p. 18.

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1          Plaintiff’s position that this equates into egregious
2    behavior sufficient to shock the conscience simply cannot be
3    maintained under the circumstances.
4          Specific and explicit verbal requests for dispersal went
5    unheeded, and the size of the crowd, violence in the form of
6    throwing objects and vandalizing property, and threats against
7    the police officers (chants of “fuck the cops”) made it necessary
8    for the police to regroup before returning in force and in riot
9    gear to quell what was rapidly devolving into full-blown riot
10   conditions.   Pepperball launchers were utilized only where groups
11   still refused to disperse, were still throwing objects at
12   officers, and failed to accede to final warnings before the
13   capsules were dispersed.    This behavior on the part of the police
14   simply does not amount to the egregious indifference needed to
15   state a due process claim.    Consequently Plaintiff’s claim under
16   the Fourteenth Amendment must fail.      In addition, because the
17   California Supreme Court has held that damages claims cannot be
18   stated for violations of Article I, § 7(a) of the California
19   Constitution, Plaintiff’s due process claim founded on the state
20   constitution is also unavailing.       Katzberg v. Regents, 29 Cal.4th
21   300, 324 (2002).   Hence the Second and Fifth Claims for Relief
22   will be adjudicated in favor of the defense.
23   ///
24   ///
25   ///
26   ///
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1          C.    Violation of Equal Protection Rights
2
3          Plaintiff’s Third and Sixth Claims for Relief are asserted
4    on equal protection grounds, also pursuant to the Fourteenth
5    Amendment to the United States Constitution and Article I, § 7(a)
6    of the California Constitution.     This claim is based on
7    Plaintiff’s contention that the police shot him in the eye with a
8    pepperball “due to the fact that he was a University student.”
9    (See Defendant Chang’s Undisputed FactSee No. 47).
10         No viable equal protection claim can be asserted in this
11   case.      In order to prevail on such a claim, Plaintiff must first
12   establish that Defendants classified and singled out a group of
13   which he was a member.     There is absolutely no evidence, however,
14   that the police engaged in any such classification either on
15   grounds that the partygoers were university students or on any
16   other basis.      Additionally, even if the police had been able to
17   identify university students, an unlikely scenario since
18   individuals cannot be so classified based on observation alone
19   (unlike other suspect classification like race), Plaintiff would
20   still need to show that other non-university students in similar
21   circumstances were treated unequally.      See Silveira v. Lockyer,
22   312 F.3d 1052, 1088 (9th Cir. 2002).      Again, there is no evidence
23   of any such distinction having been made that would provide the
24   requisite control group for a valid equal protection argument.
25   ///
26   ///
27   ///
28   ///

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1          Even were Plaintiff able to identify a control group and
2    establish that university students were treated differently than
3    members of the control group, his equal protection claim would
4    still fail.   Because students are not considered a “suspect
5    class” (see KDM ex rel. WJM v. Reedsport Sch. Dist., 196 F.3d
6    1046, 1052 (9th Cir. 1999)), scrutiny of their treatment by the
7    state is under the rational basis test, and survives
8    constitutional scrutiny if “rationally related to a conceivable
9    and legitimate state interest.”     Tuan Anh Nguyen v. INS, 533 U.S.
10   53, 77 (2001).   Here, there is no question that the police were
11   pursuing a legitimate government interest by suppressing a
12   violent disturbance and restoring the peace.
13         Plaintiff’s federally-based equal protection claim is
14   accordingly without basis.    In addition, because the California
15   and federal claim tests for assessing equal protection are
16   substantially the same, there is no viable argument that
17   Plaintiff’s claim substantively fares any better under state law.
18   See Sail’er Inn, Inc. v. Kirby, 5 Cal. 3d 1, 15 (1971). Moreover,
19   and as indicated above, California law does not support damages
20   claims under Article I, § 7(a) in any event.       See Katzberg v.
21   Regents, supra, 29 Cal. 3d at 324.
22   ///
23   ///
24   ///
25   ///
26   ///
27   ///
28   ///

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1           D.   Viability of Other Federally-Based Claims/Defenses
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3           The Court concludes, consistent with its discussion above,
4    that Plaintiff has established no cognizable claim sounding
5    either in the protections afforded by the Fourth or Fourteenth
6    Amendments, or in corresponding unreasonable seizure/due process
7    provisions contained within the California Constitution.            The
8    Court has further rejected Plaintiff’s constitutional equal
9    protection claims.      Absent any such underlying constitutional
10   violations, Plaintiff cannot state claims premised on Defendants’
11   alleged official policies in facilitating such violations, or
12   supervisory/ratification claims against other police personnel
13   for constitutional violations that did not occur.           See, e.g.,
14   City of Los Angeles v. Heller, 475 U.S. 796, 810-11 (1986) no
15   government liability for official policy or custom pursuant to
16   Monell v. Dept. Of Social Services, 436 U.S. 658 (1978) absent
17   foundational constitutional violation).          Moreover, without any
18   constitutional violation subject to potential immunity it is also
19   unnecessary to consider the defense claims for both qualified
20   immunity and absolute judicial immunity, and the Court declines
21   to do so.     See, e.g., Moreland v. Las Vegas, supra, 159 F.3d at
22   371 n.4 (approach in resolving cases in which defense of
23   qualified immunity is raised should first be to determine whether
24   plaintiff has sustained a constitutional injury at all, citing
25   County of Sacramento v. Lewis, supra, 523 U.S. 833, 841 n.5.).
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1          E. Causes of Action Premised Upon State Law
2
3          Pendent state claims asserted by Plaintiff include claims
4    for assault and battery, intentional infliction of emotional
5    distress, negligence and violation of the Bane Act, California
6    Code of Civil Procedure § 52.1.
7          Turning first to assault and battery, it is clear that an
8    assault and battery claim against a police officer requires that
9    unreasonable force be established.       Edison v. City of Anaheim, 63
10   Cal. App. 4th 1269, 1272 (1998); Finley v. City of Oakland, 2006
11   WL 269950, *14 (N.D. Cal. 2006).       As an initial matter, because
12   the same standards apply to both state law assault and battery
13   and section 1983 claims premised on constitutionally prohibited
14   excessive force, the fact that Plaintiff’s constitutional claims
15   fail also disposes of the assault and battery claims.        See, e.g.,
16   Susag v. City of Lake Forest, 94 Cal. App. 4th 1401, 1412-13
17   (2002) (“[i]t appears unsound to distinguish between section 1983
18   and state law claims arising from the same alleged misconduct);
19   Saman v. Robbins, 173 F.3d 1150, 1156-57 (9th Cir. 1999)
20   (treating section 1983 and state law battery claim as
21   synonymous).
22         An examination as to the reasonableness of the force
23   employed does not change the conclusion that Plaintiff’s assault
24   and battery claim is unavailing.       Here, the evidence
25   unequivocally demonstrates that the officers were confronted with
26   a hostile crowd that refused to leave, even after the police made
27   one pass through and gave numerous orders to disperse.
28   ///

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1    In addition, before firing into the crowd at the end of the
2    breezeway, Officer Wilson testified he gave a dispersal order
3    that included a warning that shots would be fired if his request
4    went unheeded.    Officer Wilson further testified that he waited
5    between 30 and 45 seconds before actually ordering the officers
6    equipped with pepperball launchers to fire.       Finally, Plaintiff
7    walked into the line of fire despite admitting that he heard
8    orders to go inside, and despite hearing shots before he exited
9    outside.   There is no evidence that anyone walked though the door
10   before Plaintiff walked through.       These circumstances do not
11   demonstrate unreasonable force.
12         Second, under California law, the tort of intentional
13   infliction of emotional distress requires Defendants to have
14   engaged in extreme and outrageous conduct with the intention of
15   causing severe emotional distress.       Potter v. Firestone Tire &
16   Rubber Co., 6 Cal. 4th 965, 1001 (1993).       Plaintiff has no
17   evidence that he was the intended target of any of the Defendant
18   officers, and consequently cannot show that any of the officers
19   intended to cause him emotional distress, as he must do to state
20   a viable claim.   Additionally, where, as here, summary
21   adjudication is granted as to federally-based section 1983 claims
22   based on Fourth and Fourteenth Amendment excessive force claims,
23   summary judgment is also appropriate with respect to any state
24   law claim for intentional infliction of emotional distress.         See
25   Finley v. City of Oakland, supra, 2006 WL 269950 at *14.
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1          Plaintiff’s negligence claim does require an assessment of
2    whether the officers used reasonable care in quelling the
3    disturbance at issue.    Miller v. Kennedy, 196 Cal. App. 3d 141,
4    144 (1987).    Given the police response as detailed above, and
5    Plaintiff’s decision to go outside (and into the line of fire) in
6    spite of the fact that he acknowledges being told to go inside,
7    there can be no breach of the duty to exercise reasonable care.
8    In addition, because there is no evidence that the University of
9    California, Davis officers were inadequately trained, supervised
10   or subject to discipline with respect to pepperball launcher use,
11   there can be no supervisory liability for negligence on behalf of
12   UCD Police Chief Calvin Handy.
13         Plaintiff’s final state law claim, for violation of Section
14   52.1, fare no better.    Section 52.1 itself provides no
15   substantive protections; instead, it simply enables individuals
16   to sue for damages as a result of constitutional violations.
17   Reynolds v. County of San Diego, 84 F.3d 1162, 1170-71 (9th
18   Cir. 1996), aff’d in part and rev’d in part on other grounds in
19   Acri v. Varian Assocs., 114 F.3d 999 (9th Cir. 1997).        Because no
20   constitutional violation has been established, no claim under
21   Section 52.1 is cognizable.
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1                                  CONCLUSION
2
3         Based on the foregoing, Defendants are entitled to summary
4    adjudication as to all claims pled in Plaintiff’s complaint.
5    Summary Judgment is accordingly GRANTED5 and the Clerk is
6    directed to close this file.
7         IT IS SO ORDERED.
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     Dated: September 18, 2007
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10                                    _____________________________
11                                    MORRISON C. ENGLAND, JR.
                                      UNITED STATES DISTRICT JUDGE
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            Because oral argument will not be of material assistance,
     the Court orders this matter submitted on the briefing. E.D.
28   Cal. Local Rule 78-230(h).

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